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     Attorney for:  Defendant ROYPatricia
                                  RODRIGUEZ Gonzales Renteria

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8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                         EASTERN DISTRICT OF CALIFORNIA
10
                                           )
11   UNITED STATES OF AMERICA,             ) 1:13-CR-00184-LJO-SKO
                                           )
12                      PLAINTIFF,         )
                                           ) STIPULATION RE: CONTINUANCE AND
13          vs.                            ) FINDINGS AND ORDER
                                           )
14   STEVEN ROBERT RENTERIA, et.           )
                                           )
15   al.,                                  )
                                           )
16                      DEFENDANTS.        )
17

18     Defendants, PATRICIA GONZALES RENTERIA AND STEVEN ROBERT

19   RENTERIA by and through their attorneys, JOHN D. GALLEGOS, T.

20   LANCE ARCHER, and the United States of America, by and through

21   its attorney, LAUREL J. MONTOYA, Assistant United States

22   Attorney, hereby enter into the following stipulation:

23          1. The parties to the above-captioned matter agree to vacate

24             the February 24, 2014, hearing date, and reset the matter

25             for March 31, 2014, at 11:00 a.m., and to exclude time

26             between February 24, 2014 and March 31, 2014, under 18

27             U.S.C.§ 3161(h)(7)(A), B(iv).

28          2. The parties stipulate that the continuance is necessary

29             to ensure the availability and continuity of defense

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1             counsel for the hearing.      Attorney Archer will be in
2             trial on February 24, 2014 and unable to appear in the
3             Eastern District of California on the date presently set.
4          3. Based on the above, the ends of justice served by
5             continuing the case as requested outweigh the interest of
6             the public and the defendant in a trial within the
7             original date prescribed by the Speedy Trial Act.
8          4. For the purpose of computing time under the Speedy Trial
9             Act, 18 U.S.C. § 3161, et seq., within which trial must
10            commence, the time period of February 24, 2014 to March
11            31, 2014, inclusive, is deemed excludable pursuant to 18
12            U.S.C.§ 3161(h)(7)(A) and (B)(iv) because it results from
13            a continuance granted by the Court at defendant’s request
14            on the basis of the Court's finding that the ends of
15            justice served by taking such action outweigh the best
16            interest of the public and the defendants interest in a
17            speedy trial.
18         5. Nothing in this stipulation and order shall preclude a
19            finding that other provisions of the Speedy Trial Act
20            dictate that additional time periods are excludable from
21            the period within which a trial must commence.
22   Dated: February 20, 2014            Respectfully submitted,
23                                       BENJAMIN B. WAGNER
24
                                         United States Attorney

25                                       BY: /s/ Laurel J. Montoya
                                           LAUREL J. MONTOYA
26                                         Assistant U.S. Attorney
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     ///
28   ///
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1    Dated: February 20, 2014           BY:     /s/ John D. Gallegos
                                                JOHN D. GALLEGOS
2                                               Attorney for Defendant
3
                                                PATRICIA GONZALEZ RENTERIA

4
     Dated: February 20, 2014           BY:     T. Lance Archer
5                                               T. LANCE ARCHER
                                                Attorney for Defendant
6                                               STEVEN ROBERT RENTERIA
7

8
                                        ORDER

9         Having read and considered the foregoing stipulation,

10   IT IS THE ORDER FO THE Court that the current hearing date of
11
     February 24, 2014 is hereby vacated in this matter and is reset
12
     for March 31, 2014, at 11:00 a.m.
13
          The court further finds that the ends of justice served by
14
     granting the requested continuance outweigh the best interests of
15

16
     the public and defendants in a speedy trial, in that the failure

17   to grant the continuance would deny the defendant’s availability
18   and continuity of counsel.
19
          WHEREFORE IT IS HEREBY ORDERED that time shall be excluded
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     in the interest of justice, pursuant to 18 U.S.C. §§
21
     3161(h)(7)(A) and (B)(iv).
22

23
     IT IS SO ORDERED.
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       Dated:   February 20, 2014                /s/ Lawrence J. O’Neill
                                              UNITED STATES DISTRICT JUDGE
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